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                                       2
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                                           Attorneys for Plaintiff
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                                       9                       IN THE UNITED STATES DISTRICT COURT
                                      10                             FOR THE DISTRICT OF ARIZONA
                                      11
7150 East Camelback Road, Suite 285




                                      12   Ronald H. Pratte,                                Case No. 2:19-cv-00239-PHX-GMS
     Scottsdale, Arizona 85251
     Kercsmar & Feltus PLLC




                                      13                        Plaintiff,                  UNOPPOSED MOTION TO MODIFY
                                                                                            DEADLINE FOR COMPLETION OF
           (480) 421-1001




                                      14                                                    FACT DISCOVERY
                                           vs.
                                      15
                                           Jeffrey Bardwell and Fanny F. Bardwell,
                                      16   husband and wife,
                                      17                        Defendants.
                                      18
                                                  Plaintiff Ronald H. Pratte moves the Court for an order extending the deadline “for
                                      19
                                           final supplementation of MIDP responses and the completion of fact discovery, including
                                      20
                                           discovery by subpoena”, from February 28, 2020 to March 20, 2020. This requested
                                      21
                                           extension will not require the Court to extend any of the other deadlines in this matter,
                                      22
                                           including the July 17, 2020 dispositive motion deadline. (See Doc. #37.) Defendants
                                      23
                                           Jeffrey Bardwell and Fanny Bardwell do not oppose this request.
                                      24
                                                  The extension is sought due a family medical emergency that occurred on the eve
                                      25
                                           of Plaintiff Ronald Pratte’s scheduled February 20, 2020 deposition. On February 17,
                                      26
                                           2020, Mr. Pratte learned that his brother was scheduled for a medical procedure on short
                                      27
                                           notice. It was necessary for Mr. Pratte to be with his brother for this procedure.
                                      28

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                                       1          Understanding Mr. Pratte’s family emergency, Defendant’s counsel agreed to re-
                                       2   schedule Mr. Pratte’s deposition. The parties have agreed to schedule Mr. Pratte’s
                                       3   deposition for the mutually agreeable date of February 27, 2020.
                                       4          With Mr. Pratte’s deposition moved to February 27, 2020, it was also necessary to
                                       5   reschedule the deposition of Mr. Pratte’s former accountant William Schisler. First, it was
                                       6   necessary to reschedule this deposition because the only date that both side’s counsel had
                                       7   available to conduct Mr. Pratte’s deposition before February 28, was the date the parties
                                       8   had already scheduled Mr. Schisler’s deposition for: February 27, 2020. Second, the
                                       9   parties also had to reschedule this deposition because, according to Defendant, Mr.
                                      10   Schisler’s deposition must occur after Mr. Pratte’s deposition. This is because Defendant
                                      11   is likely to take the position, following Mr. Pratte’s deposition, that there has been a
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                                      12   waiver of the accountant-client privilege between Mr. Pratte and Mr. Schisler. 1 While
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     Kercsmar & Feltus PLLC




                                      13   Plaintiff certainly disputes that any waiver has or will occur here, Plaintiff nonetheless
           (480) 421-1001




                                      14   recognizes that Defense counsel certainly has the right to schedule depositions in a
                                      15   manner that will allow the Defendant to make this argument, should it so choose, while
                                      16   avoiding having to take potentially two depositions of non-party Mr. Schisler. For this
                                      17   reason, the parties have agreed to reschedule Mr. Schisler’s deposition for the mutually
                                      18   agreeable date of March 12, 2020.
                                      19          With Mr. Schisler’s deposition taking place on March 12, 2020, the parties request
                                      20   that the Court extend the deadline for “for final supplementation of MIDP responses and
                                      21   the completion of fact discovery, including discovery by subpoena” until March 20, 2020,
                                      22   to allow for final supplementation of the MIDP responses.
                                      23
                                                  For the foregoing, good cause exists to extend the deadline for fact discovery here
                                      24
                                           from February 28 to March 20. Importantly, this extension will not require an extension
                                      25
                                           1
                                                  In an effort to avoid further delay in this matter, anticipating that the parties
                                      26   are unlikely to agree that a waiver of the accountant-client privilege occurred, the
                                           parties contacted the Court this morning, February 20, 2020, and left a voicemail
                                      27   seeking to schedule a discovery dispute conference with the Court. The parties intend
                                           to request and do request that the Court set a discovery dispute conference to take
                                      28   place sometime between Mr. Pratte’s deposition on February 27 and before Mr.
                                           Schisler’s deposition on March 12.
                                                                                     2
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                                       1   to any of the remaining deadlines in the case management order. The parties have worked

                                       2   together to re-schedule the remaining few depositions in this matter to take place within

                                       3   the requested extended fact discovery deadline. A proposed form of order is filed

                                       4   herewith.

                                       5         DATED this 20th day of February, 2020.

                                       6
                                                                              KERCSMAR & FELTUS PLLC
                                       7
                                       8                                  By: s/ Greg Collins
                                                                              Gregory B. Collins
                                       9
                                                                              Zach R. Fort
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                                                                   CERTIFICATE OF SERVICE
                                       1
                                                I certify that on February 20, 2020, I electronically transmitted the foregoing to the
                                       2   Clerk’s Office using the CM/ECF System for filing and transmittal of a Notice of
                                       3   Electronic Filing to the following:
                                       4
                                           Thomas M. Connelly
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                                       8   Thomas J. Marlowe
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                                      12
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                                      14
                                           s/ Mary Ann Bautista
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